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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     Bloomberg L.P.,
     Dow Jones & Company, Inc.
     The New York Times Company,
     The Financial Times Ltd.,
                                                       Civil Action No. 1:23-cv-00682-CFC
     Appellants,

     v.                                                Bankruptcy Case No. 22-11068 (JTD)
                                                       Bankruptcy BAP No. 23-00035
     FTX Trading Ltd.,
     Alameda Research LLC

     Appellees.


                          APPELLANTS’ DESIGNATION OF RECORD
                          AND STATEMENT OF ISSUES ON APPEAL
          Appellants-Media Intervenors Bloomberg L.P., Dow Jones & Company, Inc., The New

York Times Company, and The Financial Times Ltd. (collectively, “Appellants”) hereby

submit this designation of the record on appeal and statement of issues pursuant to Rule 8009

of the Federal Rules of Bankruptcy Procedure in the above-captioned appeal from a June 15,

2023 order of the United States Bankruptcy Court for the District of Delaware, D.I. 1643.

I.        DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON
          APPEAL
          In addition to the docket entries kept by the bankruptcy clerk in Case No. 22-11068-

JTD, Appellants designate the following specific docket entries, pursuant to Rule 8009 of the

Federal Rules of Bankruptcy Procedure and Local Rule 8009-1, which include all exhibits,

addenda, or other attachments thereto, and all documents incorporated by reference therein:

 Item No.            Dkt No.        Document
 1                   24             Declaration of John J. Ray III
 2                   45             Motion of Debtors for Entry of Interim and Final Orders (I)

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                            Authorizing the Debtors to Maintain a Consolidated List of
                            Creditors in Lieu of Submitting a Separate Matrix for Each
                            Debtor, (II) Authorizing the Debtors to Redact or Withhold
                            Certain Confidential Information of Customers and Personal
                            Information of Individuals and (iii) Granting Certain
                            Related Relief
3               45-1        Exhibit A: Proposed Interim Order
4               45-2        Exhibit B: Proposed Final Order
5               51          Notice of Filing of Consolidated List of Top 50 Creditors
6               51-1        Exhibit A: Top 50 List
7               57          Declaration of Edgar W. Mosley II
8               142         Transcript of First Day Hearing, held November 22, 2022
9               196         Expedited Motion of Bloomberg L.P., Dow Jones &
                            Company, Inc., The New York Times Company and the
                            Financial Times LTD. To Intervene for the Limited Purpose
                            of Objecting to the Motion of Debtors for Entry of a Final
                            Order Authorizing the Debtors to Redact or Withhold
                            Certain Confidential Information of Customers and Personal
                            Information of Individuals
10              200         United States Trustee’s Objection to the Motion of the
                            Debtors for Entry of Interim and Final Orders
11              200-1       Exhibit A
12              255         Order Granting Certain Media Parties’ Expedited Motion to
                            Intervene
13              362         Supplement to United States Trustee’s Objection to the
                            Motion of the Debtors for Entry of Interim and Final Orders
14              407         Debtors’ Reply in Support of Motion for Entry of an Order
                            Authorizing Debtors to Redact or Withhold Certain
                            Confidential Information
15              411         Declaration of Kevin M. Cofsky
16              489         Transcript of Hearing, held January 11, 2023
17              545         Final Order (I) Authorizing the Debtors to Maintain a
                            Consolidated List of Creditors in Lieu of Submitting a
                            Separate Matrix for Each Debtor, (II) Authorizing the
                            Debtors to Redact or Withhold Certain Confidential

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                         Information of Customers and Personal Information of
                         Individuals on a Final Basis and (III) Granting Certain
                         Related Relief
18           997         Global Notes and Statements of Limitations, Methodology,
                         and Disclaimers Regarding the Debtors’ Schedules of
                         Assets and Liabilities and Statements of Financial Affairs
19           1025        Global Notes and Statements of Limitations, Methodology,
                         and Disclaimers Regarding the Debtors’ Schedules of
                         Assets and Liabilities and Statements of Financial Affairs
20           1226        Media Intervenors’ Objections to (I) Motion of the Ad Hoc
                         Committee of Non-US Customers to File Under Seal a
                         Verified Statement and Declaration (D.I. 1137) and (II)
                         Extension or Continuance of the Redaction Deadline
21           1324        Joint Motion of the Debtors and the Official Committee of
                         Unsecured Creditors for an Order Authorizing the Movants
                         to Redact or Withhold Certain Confidential Information of
                         Customers and Personal Information of Individuals
22           1324-2      Exhibit A: Proposed Order
23           1325        Declaration of Jeremy A. Sheridan
24           1325-1      Exhibits
25           1406        Media Intervenors’ Objections to the Joint Motion of the
                         Debtors and the Official Committee of Unsecured Creditors
                         for an Order Authorizing the Movants to Redact or
                         Withhold Certain Confidential Information of Customers
                         and Personal Information of Individuals
26           1467        United States Trustee’s Omnibus Objection
27           1467-1      Exhibit A
28           1467-2      Exhibit B
29           1567        Reply of the Debtors and the Official Committee of
                         Unsecured Creditors in Support of Motion for an Order
                         Authorizing the Movants to Redact or Withhold Certain
                         Confidential Information of Customers and Personal
                         Information of Individuals
30           1611        Transcript of Hearing, held June 8, 2023
31           1612        Transcript of Hearing, held June 9, 2023

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 32                1643           Order Authorizing the Movants to Redact or Withhold
                                  Certain Confidential Information of Customers and Personal
                                  Information of Individuals
 33                1688           Notice of Appeal and Statement of Election
 34                1688-1         Exhibit A
 35                1688-2         Exhibit B
 36                1704-1         Exhibit A: Second Interim Report of John J. Ray III to the
                                  Independent Directors: The Commingling and Misuse of
                                  Customer Deposits at ftx.com
II.      STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

         1.    Whether the Bankruptcy Court erred in authorizing the redaction and/or sealing

of the names of all of Debtors’ customers in filings in the above-captioned Chapter 11

proceedings for at least an additional 90 days pursuant to Bankruptcy Code Section 107(b)?

         2.    Whether the Bankruptcy Court erred in authorizing the permanent redaction

and/or sealing of the names of Debtors’ customers who are natural persons in filings in the

above-captioned Chapter 11 proceedings pursuant to Bankruptcy Code Section 107(c)?

Dated: July 7, 2022
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